Yahoo Mail - RE: 20-33938 Order on Emergency Motion                                                                        https://mail.yahoo.com/d/folders/26/messages/1508
                                              Case 20-33938 Document 58 Filed in TXSB on 11/09/20 Page 1 of 6




            From: ochonmatina1@yahoo.com <ochonmatina1@yahoo.com>
            Sent: Thursday, November 5, 2020 11:38 AM                                                          United States Courts
            To: Samantha Crow (scrow@fscu.com) <scrow@fscu.com>; Michael L. Weems <MLWeems@hwa.com>          Southern District of Texas
            Cc: Robert Vasquez <RVasquez@hwa.com>; James M. Wixted <JMWixted@hwa.com>
            Subject: Re: 20-33938 Order on Emergency Motion                                                         &/>ED
                                                                                                               November 09, 2020

            Dear Attorney Weems,                                                                          David J. Bradley, Clerk of Court



            Please find attached a copy of my Cashier's Check with which I fully paid for the Toyota Corolla according to our agreement and signed court
            order. The receipt from First Service Credit Union is also attached. However I am concerned that the Credit Union's receipt is still showing a
            balance of $7173.29 which should not be, since I fully paid as agreed. The Bank Teller explained to me that it does not matter but I need to
            get that assurance from you the Credit Union's Attorney.


            I also expect the title and other relevant documents be transferred to me.


            Thanks


            Sincerely
            Justina Ochonma
            On Wednesday, October 21, 2020, 9:20:31 AM CDT, Michael L. Weems <mlweems@hwa.com> wrote:




            Hi all,



            Judge Lopez has signed the agreed order.




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Yahoo Mail - RE: 20-33938 Order on Emergency Motion                                                                                                   https://mail.yahoo.com/d/folders/26/messages/1508
                                                  Case 20-33938 Document 58 Filed in TXSB on 11/09/20 Page 3 of 6


           RE: 20-33938 Order on Emergency Motion

           From: Michael L. Weems (mlweems@hwa.com)

           To:    ochonmatina1@yahoo.com; scrow@fscu.com

           Cc:    rvasquez@hwa.com; jmwixted@hwa.com

           Date: Thursday, November 5, 2020, 11:42 AM CST




           That would appear to do it. I will confirm with my client, but I do believe you are all set. I will email you back as soon I make sure everything has been
           processed correctly.




           Michael L. Weems | Senior Counsel




           T: (713) 328-2822 | F: (713) 351-0322 | E: mweems@hwa.com

           Total Plaza | 1201 Louisiana St., 28th Fl.| Houston, TX 77002
           hwa.com | profile | v-card




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1 of 4                                                                                                                                                                                 11/6/2020, 4:54 PM
Case 20-33938 Document 58 Filed in TXSB on 11/09/20 Page 4 of 6
Yahoo Mail - RE: 20-33938 Order on Emergency Motion                                                                                                     https://mail.yahoo.com/d/folders/26/messages/1508
                                                  Case 20-33938 Document 58 Filed in TXSB on 11/09/20 Page 5 of 6



            Michael L. Weems | Senior Counsel




            T: (713) 328-2822 | F: (713) 351-0322 | E: mweems@hwa.com

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            From: BKECF_LiveDB@txs.uscourts.gov <BKECF_LiveDB@txs.uscourts.gov>
            Sent: Wednesday, October 21, 2020 8:49 AM
            To: BK_Notices@txsb.uscourts.gov
            Subject: 20-33938 Order on Emergency Motion



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            the free copy and 30-page limit do not apply.

                                                                                         U.S. Bankruptcy Court

                                                                                       Southern District of Texas




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Yahoo Mail - RE: 20-33938 Order on Emergency Motion                                                                                           https://mail.yahoo.com/d/folders/26/messages/1508
                                                Case 20-33938 Document 58 Filed in TXSB on 11/09/20 Page 6 of 6

            Notice of Electronic Filing


            The following transaction was received from rsal entered on 10/21/2020 at 8:49 AM CDT and filed on 10/20/2020

             Case Name:       Justina Nonyelum Ochonma
             Case Number:     20-33938
             Document Number: 50

            Docket Text:
            Agreed Order Regarding i) Motion to Redeem Property, and ii) Motion for Relief From Stay (Related Docs #[31] & [43]). Signed on 10/20/2020. (rsal)

            The following document(s) are associated with this transaction:

             Document description:Main Document
             Original filename:20-33938-L-49-Proposed Order RE Motion to Redeem Property 10-20.pdf
             Electronic document Stamp:
             [STAMP bkecfStamp_ID=996787432 [Date=10/21/2020] [FileNumber=45840223-
             0] [aab4740b8e3255634a33ab87228036e61dfe1f83144adc56462f9fe0946eb82a1f
             094d22ae3240d5c21b88aa6e418f0bc1aa0e96485e2e6a76c511ed09082898]]


            20-33938 Notice will be electronically mailed to:

            Ronald J Sommers
            efile@nathansommers.com, RS@trustesolutions.com,RS@trustesolutions.net,pbuenano@nathansommers.com

            US Trustee
            USTPRegion07.HU.ECF@USDOJ.GOV

            Michael L Weems on behalf of Creditor First Service Credit Union
            mlw@hwa.com

            20-33938 Notice will not be electronically mailed to:

            Justina Nonyelum Ochonma
            5950 Antoine Dr. Apt. 234
            Houston, TX 77091




4 of 4                                                                                                                                                                      11/6/2020, 4:54 PM
